                 Case 2:20-cv-00882-MLP Document 54 Filed 03/12/21 Page 1 of 9




 1                                                              The Honorable Michelle L. Peterson

 2

 3

 4

 5

 6
                                UNITED STATES DISTRICT COURT
 7                             WESTERN DISTRICT OF WASHINGTON
                                         AT SEATTLE
 8
     O’DONNELL/SALVATORI, INC., an Illinois              NO. 2:20-cv-00882-MLP
 9   corporation,
                                                         DECLARATION OF MARK
10                                                       LAWRENCE LORBIECKI IN
                     Plaintiff/Counterclaim
                     Defendant,                          SUPPORT OF
11                                                       O’DONNELL/SALVATORI, INC.’S
                                                         MOTION TO COMPEL MICROSOFT
12           v.                                          CORPORATION TO PROVIDE
                                                         FURTHER SUPPLEMENT ANSWERS
13   MICROSOFT CORPORATION, a Washington                 AND RESPONSES TO
     corporation,                                        O’DONNELL/SALVATORI, INC.’S
14                                                       FIRST SET OF INTERROGATORIES
                     Defendant/Counterclaim              AND REQUESTS FOR PRODUCTION,
15                   Plaintiff.                          AND FURTHER PRODUCTION OF
                                                         DOCUMENTS
16
                                                         NOTED ON MOTION CALENDAR:
17                                                       March 26, 2021
18

19
             I, Mark Lawrence Lorbiecki, declare as follows:
20
             1.      I am an attorney for Plaintiff/Counterclaim Defendant O’Donnell/Salvatori, Inc.
21
     (“ODS”) in the above-entitled action. I make this declaration based on personal knowledge, am
22
     over the age of 18 and competent to testify.
23

24
      DECLARATION OF MARK LAWRENCE LORBIECKI IN                        Williams, Kastner & Gibbs PLLC
                                                                       601 Union Street, Suite 4100
25    SUPPORT OF O’DONNELL/SALVATORI, INC.’S MOTION TO                 Seattle, WA 98101-2380
      COMPEL MICROSOFT CORPORATION TO PROVIDE FURTHER                  (206) 628-6600
      SUPPLEMENT ANSWERS AND RESPONSES TO
      O’DONNELL/SALVATORI, INC.’S FIRST SET OF
      INTERROGATORIES AND REQUESTS FOR PRODUCT - 1
      (2:20-cv-00882-MLP)

     7343920.1
                 Case 2:20-cv-00882-MLP Document 54 Filed 03/12/21 Page 2 of 9




 1           2.      Microsoft and ODS have had multiple meet and confer conferences via phone.

 2           3.      Attached as Exhibit A is a true and correct copy of Plaintiff/Counterclaim

 3   Defendant O’Donnell/Salvatori, Inc.’s First Set of Interrogatories and Requests for Production

 4   to Defendant/Counterclaim Plaintiff Microsoft Corporation, dated and served on July 29, 2020.

 5           4.      Attached as Exhibit B is a true and correct copy of Microsoft Corporation’s

 6   Answers, Responses, and Objections to O’Donnell/Salvatori, Inc.’s First Set of Interrogatories

 7   and Requests for Production, dated and served on August 28, 2020.

 8           5.      ODS and Microsoft held their first meet and confer on September 7, 2020. During

 9   the first meet and confer conference, some issues were indeed resolved, but ODS left the
10   conference with a myriad of still unfulfilled Interrogatories and Requests for Production.

11           6.      Attached as Exhibit C is a true and correct copy of a letter to Microsoft’s counsel

12   from Mark Lawrence Lorbiecki, dated September 8, 2020.

13           7.      Attached as Exhibit D is a true and correct copy of a letter to ODS’s counsel from

14   Ambika K. Doran, dated September 18, 2020.

15           8.      Attached as Exhibit E is a true and correct copy of a letter to ODS’s counsel from

16   Ambika K. Doran, dated October 7, 2020.

17           9.      Attached as Exhibit F is a true and correct copy of a letter to Microsoft’s counsel

18   from Mark Lawrence Lorbiecki, dated October 16, 2020.

19           10.     The Parties had a second meet and confer conference on November 11, 2020 in
20   which, again, some progress was made but, again, many Interrogatories and Requests for

21   Production were still in contention after the conference.

22           11.     Attached as Exhibit G is a true and correct copy of a letter to Microsoft’s counsel

23   from Mark Lawrence Lorbiecki, dated January 28, 2021.

24
      DECLARATION OF MARK LAWRENCE LORBIECKI IN                          Williams, Kastner & Gibbs PLLC
                                                                         601 Union Street, Suite 4100
25    SUPPORT OF O’DONNELL/SALVATORI, INC.’S MOTION TO                   Seattle, WA 98101-2380
      COMPEL MICROSOFT CORPORATION TO PROVIDE FURTHER                    (206) 628-6600
      SUPPLEMENT ANSWERS AND RESPONSES TO
      O’DONNELL/SALVATORI, INC.’S FIRST SET OF
      INTERROGATORIES AND REQUESTS FOR PRODUCT - 2
      (2:20-cv-00882-MLP)

     7343920.1
                 Case 2:20-cv-00882-MLP Document 54 Filed 03/12/21 Page 3 of 9




 1           12.     Attached as Exhibit H is a true and correct copy of an email exchange between

 2   Mark Lawrence Lorbiecki and Ambika K. Doran, dated February 10, 2021 and February 12,

 3   2021, respectively.

 4           13.     Attached as Exhibit I is a true and correct copy of a letter to ODS’s counsel from

 5   Ambika K. Doran, dated February 12, 2021.

 6           14.     The above letter resolved minimal discovery issues and was not fully responsive

 7   or receptive to ODS’s discovery needs.

 8           15.     Attached as Exhibit J is a true and correct copy of Microsoft Corporation’s

 9   Supplemental Answers to O’Donnell/Salvatori, Inc.’s Interrogatories Nos. 1-3 (Contains
10   Confidential Materials Subject to the Stipulated Protective Order, dated March 9, 2021.

11   Confidential material has been redacted, pursuant to the Stipulated Protective Order entered in

12   his action.

13           16.     Since February 10, 2021, ODS has requested deposition dates for three key

14   witnesses. Microsoft has not responded but has simply ignored the request. Attached as

15   Exhibit K is a true and correct copy of an email exchange between Ambika K. Doran and Mark

16   Lawrence Lorbiecki, dated March 8-10, 2021.

17           17.     The two meet and confer conferences we’ve had with Microsoft’s counsel have

18   proved minimally helpful with regard to ODS’s First Discovery Requests.

19           18.     ODS’s counsel has no reason to believe that another meet and confer would
20   resolve the pressing discovery issues.

21           19.     Microsoft’s counsel has had seven (7) months to “confer” and “follow-up” with

22   their client and ODS can no longer wait. Because the contractual rights to contingent

23   compensation necessarily required ODS to repose "trust and confidence" in Microsoft to account

24
      DECLARATION OF MARK LAWRENCE LORBIECKI IN                         Williams, Kastner & Gibbs PLLC
                                                                        601 Union Street, Suite 4100
25    SUPPORT OF O’DONNELL/SALVATORI, INC.’S MOTION TO                  Seattle, WA 98101-2380
      COMPEL MICROSOFT CORPORATION TO PROVIDE FURTHER                   (206) 628-6600
      SUPPLEMENT ANSWERS AND RESPONSES TO
      O’DONNELL/SALVATORI, INC.’S FIRST SET OF
      INTERROGATORIES AND REQUESTS FOR PRODUCT - 3
      (2:20-cv-00882-MLP)

     7343920.1
                 Case 2:20-cv-00882-MLP Document 54 Filed 03/12/21 Page 4 of 9




 1   for the revenues received, and because such revenues and their sources are in the exclusive

 2   knowledge and control of Microsoft, the contract and amendments place a duty, at least with

 3   respect to accounting to ODS for the gross revenues received. There exists to vehicle outside of

 4   discovery to allow ODS to ascertain what it is owed.

 5            20.    Regarding the pre-September 2010 royalty records, Microsoft has only stated that

 6   it is burdensome and costly to produce those archived records in their old database system. The

 7   ICA was effectuated in October 1, 2001—approximately nine (9) years records are missing.

 8            21.    Attached as Exhibit L is a true and correct copy of Microsoft Corporation’s ESI

 9   Disclosures, dated December 30, 2020.
10            22.    The only reports ODS has received are from Sumthing Else Music Works and

11   Sumthing Else Distribution.

12            23.    Given the minimal number of documents produced, ODS is skeptical that

13   Microsoft has comprehensively produced documents responsive to Request for Production

14   No. 8.

15            24.    Derivation has been one of the key issue herein. A derivative work is one which

16   both copies and changes somewhat the nature of the copied work. The ICA and its amendments

17   include such as revenue events. Microsoft has been unwilling to disclose such. Yet, ODS has

18   become aware of such derivative works. This Court has already quoted, with approval, from Wolf

19   v. Superior Court (2003) 107 Cal.App.4th 25, 130 Cal.Rptr.2d 860 (Wolf ), Therein, the Court
20   observed that, “in contingent compensation and other profit-sharing cases where essential

21   financial records are in the exclusive control of the defendant who would benefit from any

22   incompleteness, public policy is best served by shifting the burden of proof to the defendant,

23   thereby imposing the risk of any incompleteness in the records on the party obligated to maintain

24
      DECLARATION OF MARK LAWRENCE LORBIECKI IN                         Williams, Kastner & Gibbs PLLC
                                                                        601 Union Street, Suite 4100
25    SUPPORT OF O’DONNELL/SALVATORI, INC.’S MOTION TO                  Seattle, WA 98101-2380
      COMPEL MICROSOFT CORPORATION TO PROVIDE FURTHER                   (206) 628-6600
      SUPPLEMENT ANSWERS AND RESPONSES TO
      O’DONNELL/SALVATORI, INC.’S FIRST SET OF
      INTERROGATORIES AND REQUESTS FOR PRODUCT - 4
      (2:20-cv-00882-MLP)

     7343920.1
                 Case 2:20-cv-00882-MLP Document 54 Filed 03/12/21 Page 5 of 9




 1   them.” (Id. at p. 35, 130 Cal.Rptr.2d 860.) Because it is Microsoft and its wholly owned

 2   subsidiary that holds the works and the records of the works, ODS might only be aware of the

 3   tip of the iceberg relative to derivative works.

 4           25.       To that end, ODS notes that ODS has served three discovery requests that use the

 5   term “derivative works” or “derivative use.” Among other objections, Microsoft objected that

 6   the terms “derivative works” and “derivative use” are technical terms under the Copyright Act

 7   that often require expert testimony. On September 14, 2020, counsel for Microsoft stated that

 8   counsel was “still working on a proposal” to disclose derivative works. In fact, no real disclosure

 9   or certification has taken place. Without such disclosure, ODS cannot meaningfully develop its
10   case for collecting revenue use of these derivative works trigger.

11           26.       ODS is aware that Microsoft commissioned artists to produce note-for-note

12   covers of Halo compositions and “Halo Legacy” works to avoid making payments to ODS, but

13   neither acknowledged these as the derivative works they truly are, nor paid ODS royalties for

14   these works. Microsoft proposed as a compromise to produce the requested information as to

15   “musical compositions by anyone other than ODS or its principals in which Microsoft has in

16   writing thanked or credited ODS or its principals,” specifically identifying the following works

17   wherein the following were noted:

18                    Works in which ODS or its principals have been credited in some fashion:
19                        o Halo Wars
20                        o Halo Legends

21                        o Halo 1 Anniversary

22                        o Halo 2 Anniversary

23                    Works in which ODS or its principals have been thanked:
24
      DECLARATION OF MARK LAWRENCE LORBIECKI IN                           Williams, Kastner & Gibbs PLLC
                                                                          601 Union Street, Suite 4100
25    SUPPORT OF O’DONNELL/SALVATORI, INC.’S MOTION TO                    Seattle, WA 98101-2380
      COMPEL MICROSOFT CORPORATION TO PROVIDE FURTHER                     (206) 628-6600
      SUPPLEMENT ANSWERS AND RESPONSES TO
      O’DONNELL/SALVATORI, INC.’S FIRST SET OF
      INTERROGATORIES AND REQUESTS FOR PRODUCT - 5
      (2:20-cv-00882-MLP)

     7343920.1
                 Case 2:20-cv-00882-MLP Document 54 Filed 03/12/21 Page 6 of 9




 1                        o Halo 4

 2                        o Halo 5 Guardians

 3           27.       This list is clearly incomplete and with Microsoft’s knowledge. Microsoft has

 4   specifically withheld information as to derivative works. Consider, for example, the interview

 5   published at:

 6                    https://www.halowaypoint.com/en-us/news/joel-corelitz-through-the-trees
 7   wherein the composer Joel-Corelitz admits to drawing on a piece of music from the original

 8   Halo: Combat Evolved and Corelitz unpacked the musical evolution, ““Through the Trees” is

 9   my interpretation of “A Walk in the Woods.” To realize its ambitious vision for Halo Infinite,
10   “343 Industries music supervisor Joel Yarger has assembled a trio of talented composers to

11   develop stirring, emotional melodies that blend their unique styles with nearly twenty years of

12   iconic motifs.” These are derivative works by Microsoft.

13           28.       Composer Gareth’s Escharum admits use of the main Halo theme in “Set a Fire

14   in Your Heart.” Further, Corelitz discussed the power of previous Halo music, “Halo has a very

15   strong musical identity. So strong, that you could hear just a few seconds of a Halo score playing

16   from another room and recognize it.” The new song actually draws off a piece of music from the

17   original Halo: Combat Evolved and Corelitz unpacked the musical evolution, “’Through the

18   Trees’ is my interpretation of ‘A Walk in the Woods.’”

19           29.       “Being able to pull from Halo’s rich musical identity as a composer – to integrate
20   its themes and express them in my voice was a new experience and a real honor. And having all

21   of Halo’s themes at my fingertips was a constant source of inspiration and a lot of fun.”

22

23

24
      DECLARATION OF MARK LAWRENCE LORBIECKI IN                           Williams, Kastner & Gibbs PLLC
                                                                          601 Union Street, Suite 4100
25    SUPPORT OF O’DONNELL/SALVATORI, INC.’S MOTION TO                    Seattle, WA 98101-2380
      COMPEL MICROSOFT CORPORATION TO PROVIDE FURTHER                     (206) 628-6600
      SUPPLEMENT ANSWERS AND RESPONSES TO
      O’DONNELL/SALVATORI, INC.’S FIRST SET OF
      INTERROGATORIES AND REQUESTS FOR PRODUCT - 6
      (2:20-cv-00882-MLP)

     7343920.1
                 Case 2:20-cv-00882-MLP Document 54 Filed 03/12/21 Page 7 of 9




 1           30.     In another interview, another composer, Mr. Curtis Schweitzer, admits:

 2                   In my own track, I tried to take the Halo theme – a theme that is often
                     played monophonically, or simply with one part – and simplify that
 3                   melody down to its essential “pieces” so that the harmonization can play
                     a more prominent role, and to give some room to develop a few
 4                   “fragments” of my own (for example, you can hear a little bit of the
                     trumpet motif that played in the Discover Hope trailer in the piano part).
 5                   In other words, my approach here was keeping the backbone of the piece
                     rooted firmly in the Halo theme, but presenting it in a new way.
 6
             31.     At    https://podcasts.apple.com/us/podcast/hybrid-vs-owen-pallett-feat-gareth-
 7
     coker/id1501267072?i=1000508755703, Gareth Coker (composer for film and games including
 8
     Ori and the Blind Forest, Ori and the Will of the Wisps, ARK: Survival Evolved, Immortals
 9
     Fenyx Rising, and Halo Infinite) from 3:42 to 11:52 makes clear how heavily he has relied upon
10
     incorporating Halo themes such as the “Monks’ Chant”. In this interview, especially from 7:51-
11
     9:35, Coker points out the use of the iconic Halo work covered in the ICA and its amendments
12
     and goes further to state that this incorporation of themes was done at the direction of 343
13
     Industries.
14
             32.     ODS is entitled to its fees and costs in following up on the outstanding discovery
15
     and preparing the current motion to compel discovery.
16

17

18

19
20

21

22

23

24
      DECLARATION OF MARK LAWRENCE LORBIECKI IN                         Williams, Kastner & Gibbs PLLC
                                                                        601 Union Street, Suite 4100
25    SUPPORT OF O’DONNELL/SALVATORI, INC.’S MOTION TO                  Seattle, WA 98101-2380
      COMPEL MICROSOFT CORPORATION TO PROVIDE FURTHER                   (206) 628-6600
      SUPPLEMENT ANSWERS AND RESPONSES TO
      O’DONNELL/SALVATORI, INC.’S FIRST SET OF
      INTERROGATORIES AND REQUESTS FOR PRODUCT - 7
      (2:20-cv-00882-MLP)

     7343920.1
                 Case 2:20-cv-00882-MLP Document 54 Filed 03/12/21 Page 8 of 9




 1           THE FOREGOING IS TRUE AND CORRECT TO THE BEST OF MY

 2   KNOWLEDGE, SO STATED UNDER PENALTY OF PERJURY UNDER THE LAWS OF

 3   THE STATE OF WASHINGTON AND THE UNITED STATES OF AMERICA.

 4

 5           DATED this 11th day of March, 2021.

 6                                                 s/ Mark Lawrence Lorbiecki
                                                   Mark Lawrence Lorbiecki, WSBA # 16796
 7                                                 WILLIAMS, KASTNER & GIBBS PLLC
                                                   601 Union Street, Suite 4100
 8
                                                   Seattle, WA 98101-2380
 9                                                 Tel: (206) 628-6600
                                                   Fax: (206) 628-6611
10                                                 Email: mlorbiecki@williamkastner.com
11                                                 Attorneys for Plaintiff/Counterclaim
                                                   Defendant O’Donnell/Salvatori, Inc.
12

13

14

15

16

17

18

19
20

21

22

23

24
     DECLARATION OF MARK LAWRENCE LORBIECKI IN                    Williams, Kastner & Gibbs PLLC
                                                                  601 Union Street, Suite 4100
25   SUPPORT OF O’DONNELL/SALVATORI, INC.’S MOTION TO             Seattle, WA 98101-2380
     COMPEL MICROSOFT CORPORATION TO PROVIDE FURTHER              (206) 628-6600
     SUPPLEMENT ANSWERS AND RESPONSES TO
     O’DONNELL/SALVATORI, INC.’S FIRST SET OF
     INTERROGATORIES AND REQUESTS FOR PRODUCT - 8
     (2:20-cv-00882-MLP)

     7343920.1
                 Case 2:20-cv-00882-MLP Document 54 Filed 03/12/21 Page 9 of 9




 1                                   CERTIFICATE OF SERVICE

 2           I hereby certify under penalty of perjury under the laws of the State of Washington that

 3   I electronically filed the foregoing with the Clerk of the Court using the CM/ECF system, which

 4   will send electronic notification of such filing to all CM/ECF participants.

 5

 6           DATED this 11th day of March, 2021.

 7                                                      s/ Mark Lawrence Lorbiecki
                                                        Mark Lawrence Lorbiecki, WSBA # 16796
 8

 9
10

11

12

13

14

15

16

17

18

19
20

21

22

23

24
      DECLARATION OF MARK LAWRENCE LORBIECKI IN                         Williams, Kastner & Gibbs PLLC
                                                                        601 Union Street, Suite 4100
25    SUPPORT OF O’DONNELL/SALVATORI, INC.’S MOTION TO                  Seattle, WA 98101-2380
      COMPEL MICROSOFT CORPORATION TO PROVIDE FURTHER                   (206) 628-6600
      SUPPLEMENT ANSWERS AND RESPONSES TO
      O’DONNELL/SALVATORI, INC.’S FIRST SET OF
      INTERROGATORIES AND REQUESTS FOR PRODUCT - 9
      (2:20-cv-00882-MLP)

     7343920.1
